                               Case 22-60043 Document                                   Filed in TXSB on 05/02/22 Page 1 of 8
   Fill in this information to identify the case:

   Debtor            InfoW, LLC
                    __________________________________________________________________
                                           Southern
   United States Bankruptcy Court for the: ______________________             Texas
                                                                  District of __________
                                                                                              (State)
   Case number        22-60020
                     ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
     Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of 8
                InfoW, LLC
                           Case 22-60043 Document                              Filed in TXSB on 05/02/22 Page  2 of 8
                                                                                                         22-60020
  Debtor        _______________________________________________________                                Case number (if known)_____________________________________
                Name


 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                 Amount of claim

3.1 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                                 50,000.00
                                                                                                                               $________________________________
     Brennan Gilmore
    ____________________________________________________________
                                                                                Contingent
     c/o Civil Rights Clinic ATTN: Andrew Mendrala 600 New Jersey Avenue, NW    Unliquidated
    ____________________________________________________________                Disputed
    Washington, DC 20001
    ____________________________________________________________                                    Litigation Claim
                                                                               Basis for the claim: ________________________

    Date or dates debt was incurred              ___________________           Is the claim subject to offset?
                                                                                No
    Last 4 digits of account number              ___ ___ ___ ___                Yes
3.2 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:     0.00
                                                                                                                               $________________________________
     Carlee Soto-Parisi                                          Check all that apply.
    ____________________________________________________________
                                                                                Contingent
                                                                                Unliquidated
     c/o Koskoff Koskoff & Bieder 350 Fairfield Ave
    ____________________________________________________________  Disputed
    Bridgeport, CT 06604
    ____________________________________________________________
                                                                                                    Litigation Claim
                                                                               Basis for the claim: ________________________

    Date or dates debt was incurred              ___________________           Is the claim subject to offset?
                                                                                No
    Last 4 digits of account number              ___ ___ ___ ___                Yes
3.3 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:     0.00
                                                                                                                               $________________________________
     Carlos Soto                                                 Check all that apply.
    ____________________________________________________________
                                                                                Contingent
     c/o Koskoff Koskoff & Bieder 350 Fairfield Ave                             Unliquidated
    ____________________________________________________________                Disputed
    Bridgeport, CT 06604
    ____________________________________________________________
                                                                                                    Litigation Claim
                                                                               Basis for the claim: ________________________

    Date or dates debt was incurred              ___________________           Is the claim subject to offset?
                                                                                No
    Last 4 digits of account number              ___ ___ ___ ___                Yes
3.4 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:     90,000.00
                                                                               Check all that apply.                           $________________________________
     Christopher Sadowski
    ____________________________________________________________
                                                                                Contingent
     c/o Copycat Legal PLLC 3111 N. University Drive Ste. 301                   Unliquidated
    ____________________________________________________________                Disputed
    Coral Springs, FL 33065
    ____________________________________________________________
                                                                                                    Copyright Infringement
                                                                               Basis for the claim: ________________________

    Date or dates debt was incurred              ___________________           Is the claim subject to offset?
                                                                                No
    Last 4 digits of account number              ___ ___ ___ ___                Yes
3.5 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:     0.00
                                                                               Check all that apply.                           $________________________________
     Dona Soto
    ____________________________________________________________
                                                                                Contingent
     c/o Koskoff Koskoff & Bieder 350 Fairfield Ave
    ____________________________________________________________
                                                                                Unliquidated
                                                                                Disputed
    Bridgeport, CT 06604
    ____________________________________________________________
                                                                                                    Litigation Claim
                                                                               Basis for the claim: ________________________

    Date or dates debt was incurred              ___________________           Is the claim subject to offset?
                                                                                No
    Last 4 digits of account number              ___ ___ ___ ___                Yes
3.6 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:     0.00
                                                                 Check all that apply.                                         $________________________________
     Erica Lafferty
    ____________________________________________________________
                                                                                Contingent
     c/o Koskoff Koskoff & Bieder 350 Fairfield Ave
    ____________________________________________________________
                                                                                Unliquidated
                                                                                Disputed
    Bridgeport, CT 06604
    ____________________________________________________________
                                                                                                    Litigation Claim
                                                                               Basis for the claim: ________________________

    Date or dates debt was incurred              ___________________           Is the claim subject to offset?
                                                                                No
    Last 4 digits of account number              ___ ___ ___ ___                Yes


    Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2 of 8
               InfoW, LLC
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  Debtor       _______________________________________________________            Case number (if known)_____________________________________
               Name



Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  7 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     0.00
                                                                 Check all that apply.                              $________________________________
      Francine Wheeler
     ___________________________________________________________  Contingent
                                                                  Unliquidated
      c/o Koskoff   Koskoff   &  Bieder   350   Fairfield Ave     Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
      Bridgeport, CT 06604
     ___________________________________________________________         disputed
                                                                                            Litigation Claim
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  8 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    0.00
                                                                                                                    $________________________________
      Ian Hockley                                                Check all that apply.
     ___________________________________________________________
                                                                  Contingent
                                                                     ■

                                                                  Unliquidated
      c/o Koskoff   Koskoff   &  Bieder   350   Fairfield Ave
     ___________________________________________________________  Disputed
      Bridgeport, CT 06604
     ___________________________________________________________                            Litigation Claim
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  9 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    0.00
                                                                                                                    $________________________________
      Jacqueline Barden                                          Check all that apply.
     ___________________________________________________________
                                                                     Contingent
      c/o Koskoff Koskoff & Bieder 350 Fairfield Ave  Unliquidated
     ___________________________________________________________  Disputed
      Bridgeport, CT 06604
     ___________________________________________________________                         Litigation Claim
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

 10 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    0.00
                                                                                                                    $________________________________
      Jennifer Hensel
     ___________________________________________________________
                                                                    Check all that apply.
                                                                     Contingent
      c/o Koskoff Koskoff & Bieder 350 Fairfield Ave  Unliquidated
     ___________________________________________________________  Disputed
      Bridgeport, CT 06604
     ___________________________________________________________
                                                                                            Litigation Claim
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes


 11 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    0.00
                                                                                                                    $________________________________
      Jeremy Richman
     ___________________________________________________________
                                                                    Check all that apply.
                                                                     Contingent
      c/o Koskoff Koskoff & Bieder 350 Fairfield Ave  Unliquidated
     ___________________________________________________________  Disputed
      Bridgeport, CT 06604
     ___________________________________________________________
                                                                                            Litigation Claim
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page 3 of 8
               InfoW, LLC
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  Debtor       _______________________________________________________            Case number (if known)_____________________________________
               Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  12 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     0.00
                                                                 Check all that apply.                              $________________________________
      Jillian Soto
     ___________________________________________________________  Contingent
                                                                  ■

                                                                  Unliquidated
                                                                     ■


      c/o Koskoff   Koskoff   &  Bieder   350   Fairfield Ave     Disputed
                                                                     ■

     ___________________________________________________________  Liquidated and neither contingent nor
      Bridgeport, CT 06604
     ___________________________________________________________         disputed
                                                                                            Litigation Claim
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

 13 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    0.00
                                                                                                                    $________________________________
      Leonard Pozner                                             Check all that apply.
     ___________________________________________________________
                                                                  Contingent
                                                                     ■

                                                                  Unliquidated
                                                                     ■

      c/o Kaster  Lynch   Farrar &  Ball LLP  1117   Herkimer
     ___________________________________________________________  Disputed
                                                                     ■


     Houston, TX 77008
     ___________________________________________________________                            Litigation Claim
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  14 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    0.00
                                                                                                                    $________________________________
      Marcel Fontaine                                            Check all that apply.
     ___________________________________________________________
                                                                  Contingent
                                                                     ■



      c/o Kaster  Lynch   Farrar &  Ball LLP  1117   Herkimer     Unliquidated
                                                                     ■

     ___________________________________________________________  Disputed
                                                                     ■


      Houston, TX 77008
     ___________________________________________________________                         Litigation Claim
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  15 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    0.00
                                                                                                                    $________________________________
      Mark Barden
     ___________________________________________________________
                                                                    Check all that apply.
                                                                     Contingent
                                                                     ■


      c/o Koskoff Koskoff & Bieder 350 Fairfield Ave  Unliquidated
                                                                     ■

     ___________________________________________________________  Disputed
                                                                     ■


      Bridgeport, CT 06604
     ___________________________________________________________
                                                                                            Litigation Claim
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes


  16 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                                                                    $________________________________
      Neil Heslin
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
      c/o Kaster  Lynch   Farrar &  Ball LLP  1117   Herkimer     Unliquidated
     ___________________________________________________________  Disputed
      Houston, TX 77008
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




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               InfoW, LLC
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  Debtor       _______________________________________________________             Case number (if known)_____________________________________
               Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  17 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                 Check all that apply.                               $________________________________
      Nicole Hockley
     ___________________________________________________________  Contingent
                                                                  ■

                                                                  Unliquidated
                                                                     ■


      c/o Koskoff   Koskoff   &  Bieder   350   Fairfield Ave     Disputed
                                                                     ■

     ___________________________________________________________  Liquidated and neither contingent nor
      Bridgeport, CT 06604
     ___________________________________________________________         disputed
                                                                                             Litigation Claim
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number          ___ ___ ___ ___         Yes

 18 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:    0.00
                                                                                                                     $________________________________
      Robert Parker                                              Check all that apply.
     ___________________________________________________________
                                                                  Contingent
                                                                     ■

                                                                  Unliquidated
                                                                     ■

      c/o Koskoff   Koskoff   &  Bieder   350   Fairfield Ave
     ___________________________________________________________  Disputed
                                                                     ■


     Bridgeport, CT 06604
     ___________________________________________________________                             Litigation Claim
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number          ___ ___ ___ ___         Yes

  19 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:    0.00
                                                                                                                     $________________________________
      Scarlett Lewis                                             Check all that apply.
     ___________________________________________________________
                                                                  Contingent
                                                                     ■



      c/o Kaster  Lynch   Farrar &  Ball LLP  1117   Herkimer     Unliquidated
                                                                     ■

     ___________________________________________________________  Disputed
                                                                     ■


      Houston, TX 77008
     ___________________________________________________________                          Litigation Claim
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number          ___ ___ ___ ___         Yes

3. 20 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:    0.00
                                                                                                                     $________________________________
      Veronique De La Rosa
     ___________________________________________________________
                                                                     Check all that apply.
                                                                  Contingent
                                                                     ■


      c/o Kaster  Lynch   Farrar &  Ball LLP  1117   Herkimer     Unliquidated
                                                                     ■

     ___________________________________________________________  Disputed
                                                                     ■


      Bridgeport, CT 06604
     ___________________________________________________________
                                                                                             Litigation Claim
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number          ___ ___ ___ ___         Yes


3.21 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:    0.00
                                                                                                                     $________________________________
      William Aldenberg
     ___________________________________________________________
                                                                     Check all that apply.
                                                                      Contingent
                                                                     ■


      c/o Koskoff Koskoff & Bieder 350 Fairfield Ave  Unliquidated
                                                                     ■

     ___________________________________________________________  Disputed
                                                                     ■


      Bridgeport, CT 06604
     ___________________________________________________________
                                                                                             Litigation Claim
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number          ___ ___ ___ ___         Yes




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               InfoW, LLC
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  Debtor       _______________________________________________________             Case number (if known)_____________________________________
               Name



 Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.22 Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                  Check all that apply.                              $________________________________
       William Sherlach
      ___________________________________________________________  Contingent
                                                                   ■

                                                                   Unliquidated
                                                                      ■


       c/o Koskoff   Koskoff   &  Bieder   350   Fairfield Ave     Disputed
                                                                      ■

      ___________________________________________________________  Liquidated and neither contingent nor
       Bridgeport, CT 06604
      ___________________________________________________________         disputed
                                                                                             Litigation Claim
                                                                     Basis for the claim: ________________________

      Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                      No
      Last 4 digits of account number         ___ ___ ___ ___         Yes

3. 23 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:    0.00
                                                                                                                     $________________________________
       Larry Klayman, Esq.                                        Check all that apply.
      ___________________________________________________________
                                                                   Contingent
                                                                      ■

                                                                   Unliquidated
                                                                      ■

       7050   W.   Palmetto    Park   Rd
      ___________________________________________________________  Disputed
                                                                      ■


      Boca Raton, FL, 33433
      ___________________________________________________________                            Litigation Claim
                                                                     Basis for the claim: ________________________

      Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                      No
      Last 4 digits of account number         ___ ___ ___ ___         Yes

3.24 Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:    0.00
                                                                                                                     $________________________________
                                                                  Check all that apply.
       Randazza Legal Group
      ___________________________________________________________
                                                                   Contingent
                                                                      ■

                                                                   Unliquidated
                                                                      ■

      2764 Lake Sahara Dr suite 109
      ___________________________________________________________  Disputed
                                                                      ■


      Las Vegas, NV 89117
      ___________________________________________________________                            Litigation Claim
                                                                     Basis for the claim: ________________________

      Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                      No
      Last 4 digits of account number         ___ ___ ___ ___         Yes

3. 25 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
      ___________________________________________________________
                                                                   Contingent
                                                                   Unliquidated
      ___________________________________________________________  Disputed
      ___________________________________________________________
                                                                     Basis for the claim: ________________________

      Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                      No
      Last 4 digits of account number         ___ ___ ___ ___         Yes


3.266 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
      ___________________________________________________________
                                                                   Contingent
                                                                   Unliquidated
      ___________________________________________________________  Disputed
      ___________________________________________________________
                                                                     Basis for the claim: ________________________

      Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                      No
      Last 4 digits of account number         ___ ___ ___ ___         Yes




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                      InfoW, LLC
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                                                                                                                     22-60020
                                                                                                                             7 of 8
  Debtor             _______________________________________________________                                          Case number (if known)_____________________________________
                     Name



Part 3:              List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



            Name and mailing address                                                                           On which line in Part 1 or Part 2 is the      Last 4 digits of
                                                                                                               related creditor (if any) listed?             account number, if
                                                                                                                                                             any

4.1.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.2.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

41.                                                                                                            Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.                                                                                                          Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
                                                                                                               Line _____

                                                                                                               
         ___________________________________________________________________________________________________
                                                                                                                   Not listed. Explain ________________      ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




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 Debtor
                InfoW, LLC   Case 22-60043 Document
               _______________________________________________________
                                                                                           22-60020
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                                                                                   Case number (if known)_____________________________________
               Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                           Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                             0.00
                                                                                                           $_____________________________




5b. Total claims from Part 2                                                                  5b.    +
                                                                                                             140,000.00
                                                                                                           $_____________________________




5c. Total of Parts 1 and 2
                                                                                              5c.
                                                                                                             140,000.00
                                                                                                           $_____________________________
   Lines 5a + 5b = 5c.




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